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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

  

UNITED STATES OF Al\/IERICA
18-MJ-511
V_
DAVID D. BLASCZAK,
Defendant.

 

PROTECTIVE ORDER

The discovery in this case includes numerous documents containing names, Social
Security numbers, dates of birth, and other personal identifying irlformation, the
confidentially of vvhich is protected by various federal statutes. To preserve the
confidentiality of this information, the parties have agreed to the entry of this Protective Order

related to the handling of this material

WHEREFORE it is hereby ordered that:

1. The parties are in agreement that, to the extent that the requested confidential
information is disclosed, such confidential information may only be used, disseminated,

copied or disclosed as indicated in this Order.

2. None of the parties or counsel to this action shall use such confidential

documents for any purpose other than related to this case.

3. The confidential documents and information may only be disclosed to the

following persons:

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a. The parties of counsel of record and employees of such counsel Who are
assisting said counsel in the preparation of this action.

b. Persons specifically consulted by counsel of record to assist in the
preparation or trial of this matter, but only if such persons need the
confidential documents or information therefrom to render suc
assistance '

4. Persons Within the scope of subparagraph 3b may not retain copies of
confidential documents or the information therefrom, and such persons must return all
confidential documents to counsel of record Who provided such documents or information to

them Wlien their participation in the case is ended or their need to have such documents and

information ends, Whichever comes HrSt.

5. Counsel for the defense Will be responsible for informing any person to Whom
they disseminate the confidential documents or information that such is contidential, that
such may not be used in any manner except in the course of this case, and that such must be
returned When the case is ended or their need to have such documents and information ends,

Whichever comes Hrst.

6. Nothing in this Order Waives any objection to discovery.
7. Nothing herein shall limit a party's or its counsel's use of its own documents
8. The parties shall confer between themselves concerning measures Which should

be taken during trial of this action to satisfy the requirements of confidentiality consistent With
the right of all parties to present all admissible evidence necessary for a proper resolution of
this case. Nothing herein shall be construed to affect in any Way the admissibility of any

document, testimony, or other evidence at trial.

9. ln the event that any "confidentia " document or information is used in any

court proceeding in this action, it shall not lose its confidential status under this Order through

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such use, its use shall continue to be subject to the provisions of the Order that are not
inconsistent With other orders by the Court regarding their use at trial, and the parties shall
take all steps reasonably required to protect its confidentiality during such use, including

redaction of protected information

10. Upon conclusion of this action, including all appeals, the provisions hereof
relating to the access to and use of confidential documents and information therefrom shall
continue to be binding on all persons entitled to access under the terms of this Order, and the
defense shall deliver to the Government all confidential documents and all copies, summaries,
extracts and notes thereof Which contain protected information, Whether in its possession,
possession of its counsel, or possession of any employees or persons retained by the defense
to Whom such documents or information Was provided; or, in the alternative counsel fo_r

defendant shall represent in Writing to the Government that all confidential documents and

   
  
  

   
 

   

information and all copies, summaries, extracts, and notes therefrom have been destroyed

So Ordered this ié day of $7‘¢’[ , 2018.
so A HAN W. FELDMAN

Uknite States Magistrate Judge

WRENCE %ASPER§§;/

Attorney for Defendant

%//LW"

KYLE i>. Rossl
Assistant United States Attorney

